              Case 19-24331-PDR     Doc 95
                                        92     Filed 01/07/21
                                                     12/16/20     Page 1 of 6
[Type here]                          Ralph L. Sanders                  Case 19-bk-24331-PDR


                                      Motion for

Postponement of Mortgage Modification Mediation Scheduled for December 17,

2020, Due to possible Criminal




Dear Honorable Judge Peter D. Russin

UNITED STATES BANKRUPTCY COURT

United States Courthouse 299 E. Broward Blvd.

Courtroom: 301 / Chambers: Room 303

Fort Lauderdale, FL 33301

BANKrUPTCY Case 19-bk-24331-PDR                                 Date: December 16, 2020




Addendum to filing 90 of Bankruptcy case 19-bk-24331-PDR regarding possible criminal

violation of Breach of Fiduciary Duty and Aiding & Abetting Breach of Fiduciary Duty.

See attached.

I am asking for a postponement of the Mortgage Modification Mediation Mediation and

whatever guidance the Court may suggest.

Please.



Sincerely




                                        Case id 19-bk-24331-PDR             Page 1 of 2
              Case 19-24331-PDR   Doc 95
                                      92    Filed 01/07/21
                                                  12/16/20     Page 2 of 6
[Type here]                       Ralph L. Sanders                  Case 19-bk-24331-PDR


Ralph Levi Sanders

561 SW 60th ave

Plantation, Fl. 33317

754.801.7097




                                     Case id 19-bk-24331-PDR             Page 2 of 2
                              Case 19-24331-PDR              Doc 95
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NHNGBM?<SO<D:S@:FB@AMW<GBMUANBV@<V:SQNBOX<Y<UB;@AM?NB;<?D@<CAUM?@@<VNB<DGA@<:U?MG;@<ENF<>GASM<?:<QA:V@@;<FG?D
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TA@NVD<:><a:B?ANV?<[bc\d[bce
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TA@NVD<:><fG;UVGNAO<iU?OX<<
YB<fE:AG;N<j?N?U?@M_<=;kUM?@AM<NA@<D@E;<?:<DGHD@A<M?NB;NA;M<GBVEU;GBH<fG;UVGNAO<;U?O<GBVEU;GBH<INAG:UM<>GB@M<NB;<kNGE
?GS@<G><;U?O<GM<^A:R@BX
CD@<>:EE:FGBH<GM<]AX<9:E;FNMM@AWM<N;kUM?@AWM<EGV@BM@<NB;<lBGI@AMNE<m:E;GBHM<Jlna<QNA@B?<V:SQNBOL<D@EQ<FNB?@;<>:A
?D@<Q:MG?G:B<:><WaENGSM<opNSGB@AW<Q@A<]AX<9:E;FNMM@AWM<?G?E@<:B<DGM<@SNGEX<CD@<D@EQ`FNB?@;<FNM<Q:M?@;<\<;NOM<NH:X
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lna<FG?D<?D@GA<N;kUM?@AM<NB;<^A@NVD<:><fG;UVGNE<iU?O<GB<N;;G?G:B<?:<^A@NVD<:><V:B?ANV?X
D??QMgddEGV@BM@@M@NAVDX>E;>MXV:SdPGV@BM@@dcK[rbrh
lso<aNA@@AM<t<lBGI@AMNE<YBMUANBV@<m:E;GBHM
lso<aNA@@A<uQ@BGBHM<t<lBGI@AMNE<YBMUANBV@<m:E;GBHM
D??QMgddFFFX>EAUE@MX:AHdHN?@FNOd:AHNBGvN?G:BXNMQwG;xryb
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Case 19-24331-PDR   Doc 95
                        92   Filed 01/07/21
                                   12/16/20   Page 4 of 6




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Case 19-24331-PDR   Doc 95
                        92   Filed 01/07/21
                                   12/16/20   Page 5 of 6




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                     Case 19-24331-PDR   Doc 95
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                                                        12/16/20   Page 6 of 6




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